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                              EXHIBIT 218
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     1                IN THE UNITED STATES DISTRICT COURT

     2                 FOR THE NORTHERN DISTRICT OF OHIO

     3                          EASTERN DIVISION

     4

     5

     6   ******************************

     7   IN RE:

     8   NATIONAL PRESCRIPTION OPIATE       MDL NO. 2804

         LITIGATION

     9

         This document relates to:          Case No. 17-MD-2804

   10

         All cases                          Hon. Dan A. Polster

   11

         ******************************

   12

   13                 HIGHLY CONFIDENTIAL - SUBJECT TO

   14                    FURTHER CONFIDENTIALITY REVIEW

   15                      VIDEOTAPED DEPOSITION OF:

   16                          STEVE REARDON

   17                         ALOFT BOSTON SEAPORT

   18                           401-403 D Street

   19                        Boston, Massachusetts

   20                  November 30, 2018         9:03 a.m.

   21

   22                          Darlene M. Coppola

   23                       Registered Merit Reporter

   24                      Certified Realtime Reporter

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     1         A.    I don't recall seeing it.

     2    BY MR. PAPANTONIO:

     3         Q.    Did your company sell each one of these

     4    things, oxycodone, alprazolam, benzodiazepine?

     5    Did you all sell that?

     6                      MR. PYSER:   Object to form.

     7         A.    Yes.

     8    BY MR. PAPANTONIO:

     9         Q.    According to the medical examiner's

   10     office, they have seen a 127 percent increase in

   11     the number of deaths associated with

   12     benzodiazepines in the State of Florida between

   13     2005 and 2010.

   14                You were there in 2005 as -- in charge of

   15     quality regulation, right?

   16          A.    Yes.

   17          Q.    You were there in 2006 in that position,

   18     correct?

   19          A.    Correct.

   20          Q.    You were there in 2007 in that position,

   21     correct?

   22          A.    Part of the year.

   23          Q.    And then it goes on to say -- as a matter

   24     of fact, you were a leader in those positions,

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     1    weren't you, sir?

     2                I mean, part of your job was to be a

     3    leader in those positions, correct?

     4         A.    Correct.

     5         Q.    It says "Approximately February 2009

     6    through 2010, monthly oxy -- oxycodone sales to

     7    Florida practitioners steadily increased and well

     8    surpassed monthly oxycodone sales in the remaining

     9    states."

   10                Now, did you know that Florida actually

   11     had the highest sales in the country during that

   12     period of time?

   13                       MR. PYSER:   Object to form.

   14          A.    I was not aware.

   15     BY MR. PAPANTONIO:

   16          Q.    But you were there in 2005, what was

   17     your -- daily, in 2005, you would review orders

   18     that would come in from the company, correct?

   19                       MR. PYSER:   Object to form.

   20          A.    Not personally.

   21     BY MR. PAPANTONIO:

   22          Q.    Not personally, but you had a department

   23     that did that.    There was three of you all?

   24          A.    Correct.

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     1    organization not sure what their role is or should

     2    be."

     3               Did you write that?

     4         A.    No.

     5         Q.    And then the last one, "Would like to see

     6    stronger regulatory, i.e., FDA affairs could be a

     7    strategic advantage," right?

     8               Do you see that?

     9         A.    Yes.

   10          Q.    Now, you agree, sir, that the idea of

   11     following regulatory standards was undersourced.

   12     You agree with that?

   13                       MR. PYSER:    Object to form.

   14     BY MR. PAPANTONIO:

   15          Q.    It was undersourced.    You see the next

   16     one.   It says "People undersourced today"?

   17          A.    Again, this piece of it speaks to the

   18     manufacturing side of the business.

   19          Q.    Yeah, which is a Cardinal business.     I

   20     want to be sure.      It's a Cardinal business,

   21     correct?

   22          A.    Correct.

   23          Q.    All right.    "People have -- people we have

   24     are good, don't have enough bench strength."

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     1    you shredded?

     2                        MR. PYSER:    Object to form.

     3    Argumentative.

     4          A.   No, I wouldn't -- no.

     5    BY MR. FULLER:

     6          Q.   You wouldn't have shredded that one?

     7          A.   No.

     8          Q.   Just other documents?

     9                        MR. PYSER:    Object to form.

   10     BY MR. FULLER:

   11           Q.   Right?

   12                         MR. PYSER:    Object to form.

   13           A.   Other documents that required shredding.

   14                         MR. FULLER:    Sure.   So these

   15     ingredient limit reports -- let me see 3756.

   16     That's a big one.

   17                This is going to be Plaintiffs' Exhibit

   18     31.

   19

   20                (Exhibit No. 31 marked for

   21     identification.)

   22

   23     BY MR. FULLER:

   24           Q.   Have you seen this type of document

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     1    before?    It appears to be an ingredient limit

     2    report, correct?

     3         A.    Not in this format, but yes.

     4         Q.    It is an ingredient limit report?

     5         A.    Yes.

     6         Q.    And this is something Cardinal kept in the

     7    normal course of business; is that right?

     8         A.    Yes.

     9         Q.    And I'll represent to you that Cardinal's

   10     produced this to the plaintiffs in this case,

   11     amongst other ingredient limit reports, some of

   12     them going back to 2005.     We should have, at least

   13     according to your testimony, ingredient limit

   14     reports going back prior to that; is that right?

   15                       MR. PYSER:   Object to form.   You can

   16     testify about what you should have.

   17          A.    It was implemented '94, '95.

   18     BY MR. FULLER:

   19          Q.    So you believe ingredient limit reports

   20     started being created by Cardinal in 1994 or '95.

   21     Correct?

   22          A.    Correct.

   23          Q.    And it's your understanding that these

   24     documents were provided to the DEA; isn't that

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     1    true?

     2         A.   Correct, on a monthly basis.

     3         Q.   And it's also your testimony that this

     4    document, this 535-page document, if I can get my

     5    copy.

     6

     7                     (Brief pause in proceedings.)

     8

     9                      MR. FULLER:    You stay right there.

   10                       MR. PYSER:    Move to strike.

   11

   12               (Brief pause in proceedings.)

   13

   14     BY MR. FULLER:

   15          Q.   These, again, were kept in the normal

   16     course of business at Cardinal and provided to the

   17     DEA; is that correct?

   18          A.   Correct.

   19          Q.   And this is 535 pages of suspicious

   20     orders; isn't that true?

   21          A.   I haven't counted the pages, but...

   22          Q.   If you go to the last page, I think it

   23     will tell you what it was.

   24                       MR. PYSER:    I'm going to object to

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     1    the claims and the length of this.      The way it's

     2    presented has added significantly to the page

     3    number.

     4                      MR. FULLER:   This is the way it was

     5    produced.

     6          A.   Not the format that it typically comes

     7    in.

     8    BY MR. FULLER:

     9          Q.   Fair enough.   You may see it in a

   10     different format?

   11           A.   Yes.

   12           Q.   But this document is inclusive of, at

   13     least out of the Wheeling distribution center,

   14     right you see that at the top?

   15           A.   Yes.

   16           Q.   Out of the Wheeling distribution center

   17     for July of 2007, if this report was run

   18     accurately and produced to us in the format that

   19     Cardinal kept it in, this would be how many ever

   20     pages are here, I'm saying there's 535, whatever

   21     the page count is, this is all suspicious orders,

   22     right?

   23           A.   Based on the criteria that the DEA agreed

   24     to.

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     1         Q.   Based on whatever.    These are all

     2     suspicious orders under your CFR reporting

     3     requirement, correct?

     4         A.   Correct.

     5         Q.   And Cardinal shipped all these orders out

     6     into our communities across the country, didn't

     7     they?

     8                      MR. PYSER:   Object to form.

     9         A.   It may have been some that were caught at

    10     the distribution center and investigated.

    11     BY MR. FULLER:

    12         Q.   Well, this report isn't generated until

    13     the end of the month, right?

    14         A.   But it's a two-step process.

    15         Q.   I understand, but just listen to my

    16     question.

    17              This report isn't generated until the end

    18     of month, correct?

    19         A.   Correct.

    20         Q.   And any shipments that have gone, have

    21     long gone out because it's usually 24-hour

    22     turnaround, correct?

    23         A.   Correct.

    24         Q.   So if you look, there's, actually, I

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